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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                           SAN ANTONIO DIVISION

 IN RE:                                 §         CASE NO.    21-50946-CAG
 ALAMO CITY MOTORPLEX, LLC,             §
 DEBTOR(S)                              §         CHAPTER     11



    ALAMO CITY MOTORPLEX, LLC’S PLAN OF REORGANIZATION COVERSHEET
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION

 IN RE:                                         §               CASE NO.     21-50946-CAG
 ALAMO CITY MOTORPLEX, LLC,                     §
 DEBTOR(S)                                      §               CHAPTER      11

         PLAN OF REORGANIZATION FOR ALAMO CITY MOTORPLEX, LLC

       ALAMO CITY MOTORPLEX, LLC proposes the following Plan of

 Reorganization pursuant to the provisions of Chapter 11 of the

 Bankruptcy       Code    and     Rule     2015(b)         of    the   Federal     Rules      of

 Bankruptcy Procedure:

                                         ARTICLE I

                                       Definitions

       For the purposes of this Amended Plan of Reorganization, the

 following     terms      shall     have     the      following           meanings,     equally

 applicable to the singular and plural forms or the gender of the

 terms defined, unless the context clearly requires otherwise.

 These    terms    shall     be    designated,             where    such     definition      is

 applicable, with capital letters and those definitions shall be

 enforceable      as     terms    of     this       Plan    in     conjunction        with   the

 respective matters to which they reference or define:

       1.01.           Administrative Claim:               means a request for payment

 of an administrative expense in the case under §503(b) that, if

 allowable, would be entitled to priority under §507(a)(1).



       1.02.           Allowed     Claim    or       Interest:            means   any    claim


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 against, or interest in, the Debtor’s, proof of which was filed on

 or before the Bar Date or pursuant to 2.04.02 herein or, if no

 proof of claim or interest has been filed, a claim or interest

 that    was    scheduled   by    the     Debtor   on    the    Debtor’s    original

 schedules filed on or about the petition date as liquidated in

 amount    and    not   disputed     or    contingent     or     disputed    in   the

 disclosure statement or this plan and, in either case, a claim or

 interest as to which no objection has been filed or will be filed;

 or if subject to an objection or other proceeding considered by

 the Court, a claim or interest that has been determined by Final

 Order of the Court.

        1.03.       Allowed Secured Claim(s):            means an Allowed Claim

 which is secured by a valid, duly perfected voluntary lien on

 (whether voluntary or involuntary), or a security interest in,

 property in which the Debtor have an interest (including property

 of the estate), or which is subject to setoff under Bankruptcy

 Code §553, to the extent of the lesser of:               (I) the value of such

 property securing the Allowed Secured Claim; or (ii) the amount of

 such Allowed Claim which is secured, as the case may be, including

 any election made pursuant to §1111 of the Bankruptcy Code.

        1.04.       Allowed      Unsecured     Claims:         means   an   Unsecured

 Claim against Debtor:           (a) for which a proof of claim has been

 timely filed with the court by the claims bar date, or, with leave

 of Court and without objection by any party in interest, late


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 filed, and as to which neither Debtor nor any party in interest

 files an objection or as to which the claim is allowed by Final

 Order of the court, or (b) scheduled in the list of creditors, as

 may be amended, prepared and filed with the Court pursuant to Rule

 1007(b) and not listed as disputed, contingent or unliquidated as

 to amount, and as to which no objection to the allowance thereof

 has been interposed pursuant to the terms of this Plan, or as to

 which any such objection has been determined by an order or

 judgment which        is   no   longer   subject   to   appeal    or   certiorari

 proceeding and as to which no appeal or certiorari proceeding is

 pending.      This category includes all claims deemed unsecured

 pursuant to §506(a) of the Bankruptcy Code.

       1.05.          Bankruptcy Code or “Code”:         means Title 11, U.S.C.

 §101 et seq., the statute of the United States, in effect on the

 petition date, and all amendments thereto and in effect on or

 before the confirmation date, or thereafter only if specifically

 provided retroactive by any such amendment and only to the extent

 such amendment may be valid and constitutional, and does not

 materially     and    adversely    affect    the   interest      of   the   Debtor,

 creditors or any other party in interest.

       1.06.          Bar   Date:     means    November     29,    2021      for   all

 creditors except a governmental, being the date that was fixed by

 the Court for filing claims in both Chapter 11 proceedings which

 are the subject of this Plan pursuant to BANKR. R. P. 3003(b);


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 provided, however, if the Court extends the time for filing any

 given claim, the date so set shall be the Bar Date with respect to

 that claim, but only with respect to such claim.

       1.07.         Claim(s):      means a “claim” alleged or which is, in

 fact,    due   or     assertable    against      the    Debtor   as     defined   in

 Bankruptcy     Code    §101(4)     and    includes     those   claims    which    are

 allowed and all those claims which are not yet due, or which are

 unmatured, contingent and otherwise unliquidated.

       1.08.         Class    or   Classification:        means   the     particular

 Class designated in this Plan pursuant to Bankruptcy Codes §§1122

 and 1129 into which Creditor’s Allowed Claims may be included, as

 provided in this Plan, including classification for voting, for

 distributions and for impairment.

       1.09.         Code:     means The United States Bankruptcy Code,

 being Title 11 of the United States Code, as enacted in 1978 and

 thereafter amended.         References to “Section” or “Sections,” unless

 otherwise specified, shall be to the Code.

       1.10.         ALAMO CITY MOTORPLEX, LLC

       Case:    means the captioned Chapter 11 Bankruptcy case styled,

 as commenced on July 30, 2021 as a Chapter 11 proceeding, the date

 of the filing of the Voluntary Petition.

       1.11.         Confirmation:        means entry by the Court of an Order

 Confirming the Plan at or after a hearing pursuant to §1129.

       1.12.         Confirmation Date:         means the date of Confirmation.


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       1.13.       Court:     means United States Bankruptcy Court for

 the Western District of Texas, San Antonio Division.

       1.14.       Creditor(s):     means all persons or entities          having

 Claims    for   debts,   liabilities        and   demands   of   any   character

 whatsoever, as defined in Bankruptcy Code §101(4), including, but

 not limited to, future contingent Claims for unmatured potential

 liability of Claims of the United States Government and any agency

 or department thereof, and any other governmental authority, and

 whether or not the Creditor has an Allowed Claim.

       1.15.       Debtor:      means    ALAMO     CITY   MOTORPLEX,    LLC,   the

 Debtor, in its proceedings under Chapter 11 of the Code.

       1.16.       Distribution Date:          means the date or dates upon

 which interim distributions provided under this Plan are to be

 made.

       1.17.       Effective     Date:        means    the   date   upon   which

 confirmation becomes a Final Order.

       1.18.       Estate:     means the bankruptcy estate of, created

 upon filing this case.

       1.19.       Executory Contract(s):          means any contract found to

 be of the nature referred to in §365 of the Bankruptcy Code as an

 Executory Contract, which requires assumption and/or rejection by

 the Debtor.

       1.20.       Exhibits:     means those items (I) attached to the

 Plan and incorporated herein by reference; and (ii) attached to


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 the Approved Disclosure Statement and incorporated herein and

 therein by reference; and (iii) attached to the Order Confirming

 the Plan and incorporated herein and therein by reference.

       1.21.        Final Order or Final Judgment:         means any Order of

 the Court which is conclusive of all matters adjudicated therein,

 which is in full force and effect because the Final Order has not

 been:    (i) appealed, is not an allowed appeal or is denied review

 by certiorari or otherwise; or (ii) has not been reversed or

 modified; or (iii) which is not the subject of any pending appeal,

 review, rehearing, and is in all respects final and nonappealable.

       1.22.        Initial Distribution Date:           means the date upon

 which the first distribution under the Plan shall be made.                  The

 Initial Distribution Date shall be that date which the Debtor

 choose in its sole discretion; however, it shall be no later than

 thirty (30) days after Confirmation.

       1.23.        Judgment Creditor(s) or Judgment Claim(s):           means

 a Creditor whose Claim arose as a result of the entry of a

 judgment prior to the Petition Date by a state or federal court of

 competent jurisdiction in a proceeding involving the Debtor.

       1.24.        Order Confirming the Plan:          means the Final Order

 of the Court pursuant to Bankruptcy Code §1129, finding that the

 Debtor’s    Plan   meets    the   requirements    of    Chapter   11   of   the

 Bankruptcy Code and is entitled to Confirmation, and which may

 contain such other provisions, orders, findings, modifications and

 judgments which by the terms of this Plan or the Bankruptcy Code


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  are appropriate        and     necessary       to    carry    forward    this      Plan   to

  substantial        consummation,        including      the    Exhibits       (as    may   be

  amended or modified).

        1.25.          Penalty      and    Interest:           means     any   statutorily

  prescribed     penalty       or   interest         which   has    accrued    because      of

  Debtor’s failure to pay a tax imposed or to file a tax return with

  a governmental entity.

        1.26.          Petition:      means the Voluntary Petition filed by

  Debtor under §301 of Title 11 commencing this case.

        1.27.          Petition Date:            means May 8, 2020, the date the

  case was filed under Chapter 11 of the Bankruptcy Code.

        1.28.          Amended      Plan:            means   this      Amended       Plan    of

  Reorganization,        including         any       modifications,       amendments         or

  corrections made in accordance herewith under the provisions of

  the Code.

        1.29.          Priority Claim:           means any Claim, other than a Tax

  Claim   or    an    Administrative        Claim      entitled     to    priority      under

  §507(a).

        1.30.          Pro Rata or Pro Rata Share:              means the amount which

  is the result of multiplying the net proceeds or total                             proposed

  dividend owing to a named Class of Creditors pursuant to the terms

  of this Plan, by that fraction in which the numerator is the

  allowed amount of the particular Creditor’s Claim of the named

  Class   and   the     denominator        is    the    allowed     amount     of    all    the

  Creditor’s Allowed Claims of the named Class.

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        1.31.          Professional Fees:      means the Allowed Claims for,

  or those charged by, attorneys, accountants, appraisers or other

  professionals and reimbursement of expenses reasonably incurred in

  rendering such professional services which are:

        (a)     allowed pursuant to Bankruptcy Code and entitled to
                priority status in priority to or as Administrative
                Expenses Claims pursuant to Bankruptcy Code §§ 327, 330,
                331, 503(b)(3)(D), 507(a)(1), 1102, 1103; and/or

        (b)     allowed under the Plan after the Effective Date for
                services rendered after the Effective Date when approved
                by the Court, if necessary, and only to the
                extent reasonable under existing case law either at law
                or in equity.

        1.32.          Revested Debtor:     means ALAMO CITY MOTORPLEX, LLC

  as revested with property of its respective estate pursuant to

  §1141(b).

        1.33.          Rejection Claim:     means any Claim arising by reason

  of rejection by the Debtor of a contract or lease pursuant to §365

  or §1123(b)(2).

        1.34.          Secured Claim:     means any Allowed Claim secured      by

  property of the Debtor, to the extent of the value of such

  collateral.

        1.35.          Secured Creditor(s):        means a Creditor holding an

  Allowed Secured Claim, and may include Allowed Claims evidenced by

  valid Judgment Liens, Statutory Liens, other involuntary liens or

  mortgages,     and    all   voluntary    liens    or   mortgages   against   the

  property of the estate or assigned assets.

        1.36.          Settled Claim(s), Settlement(s) or Settle:          means

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  the Allowed Claims resulting from either the terms of agreements

  regarding disputed Claims reached by and between:

        (a)     the respective Creditors having disputed, unliquidated,
                contingent or Non-Allowed Claims; and

        (b)     the Debtor which fully liquidates and renders undisputed
                any Claim which is thereafter deemed an Allowed Claim.

        1.37.         Tax Claim:     means any Claim of governmental units

  for   taxes    as   described    in    §507(a)(7),     excluding    penalty     and

  interest on such tax.

        1.38.         Unsecured Claim:            means any Claim that is not a

  Secured Claim, Administrative Claim, Priority Claim or Tax Claim.

        1.39.         Unsecured    Creditor(s):           means     all   Creditors

  holding Claims against the Debtor other than an Allowed Secured

  Claim.

                                     ARTICLE II

                      Certain General Terms and Conditions

        2.01.         Satisfaction      of   all    Claims:    Various    types    of

  Claims are defined in this Plan.                 This Plan is intended to and

  shall satisfy, in the manner specified herein, all claims against

  Debtor   of    whatever    character,        whether   or   not   contingent     or

  liquidated, and whether or not Allowed Claims.                     ONLY ALLOWED

  CLAIMS AND INTERESTS WILL RECEIVE THE TREATMENT AND DISTRIBUTIONS

  SPECIFIED BY THE PLAN.       UPON THE EFFECTIVE DATE, THE DEBTOR            SHALL

  BE RELEASED AND DISCHARGED FROM ALL DEBTS AND LIABILITIES AND

  DEBTOR SHALL OWN ALL OF THEIR RESPECTIVE PROPERTY SUBJECT ONLY TO


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  THE CLAIMS AND INTERESTS OF CREDITORS, IF ANY, AND LIENS AND

  ENCUMBRANCES, IF ANY, AS SPECIFICALLY SET FORTH IN THE PLAN.

        2.02.        Securities Laws:         Any satisfaction provided to a

  Creditor pursuant to this Plan which is or may be deemed to be a

  security is exempt from registration under certain state and

  federal securities laws pursuant to §1145.                 Such exemption does

  not extend to most subsequent transfers of such interests by

  “underwriters” as that term is defined in §1145.

        2.03.        Disbursing Agent:         PORIA MIANABI, the Authorized

  Representative of Debtor-in-Possession, shall serve as disbursing

  agent for all distributions under the Plan PORIA MIANABI may

  appoint such transfer or other agents as it deems necessary and

  reasonable to assist in making distributions required by the Plan.

        2.04.        Time for Filing Claims:

        2.04.01      All Claims assertable and arising prior to the

  Petition    Date   shall   have     been    filed   with    the   United   States

  Bankruptcy Clerk in San Antonio, Texas by the Bar Date.                       The

  schedules are on file at the office of the Bankruptcy Clerk and

  are open for inspection during regular business hours at the

  office of the Bankruptcy Clerk, 615 E. Houston St., San Antonio,

  Texas 78205. Claims filed pursuant to assumption or rejection of

  Executory Contracts should also refer to Section VII of the Plan

  for special requirements regarding their Claims.                Debtor’s failure

  to   designate     a   Claim   in   their   schedules      as   being   disputed,


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  contingent or unliquidated, does not constitute an admission that

  such claim is not subject to objection.                The Debtor reserves the

  right to dispute, or assert offsets or defenses, to any Claims

  reflected in their schedules as to amount, liability or status.

  This statement is not intended by the Debtor to mean that all

  Claims    shown       in   the    schedules     are   disputed,    contingent      or

  unliquidated, thereby requiring all Creditors to file Claims.                       It

  is merely included to prevent any Creditor from seeking to use the

  schedules as an admission by Debtor as to the amount of liability

  in a Claim objection or other proceeding.                If a Creditor’s Claim

  is    scheduled    without        a   disputed,   contingent      or    unliquidated

  notation, that Creditor need not file a Claim unless that Creditor

  disagrees      with    the   amount      scheduled.     If   the       Debtor   amends

  downward any Claim shown on the schedules, those Claimants will be

  notified and will be given additional time as provided by the

  Bankruptcy Rules within which to file their Proofs of Claim, if

  they so desire.

         2.04.02        All Administrative Claims assertable and arising

  during the Case shall be filed with the United States Bankruptcy

  Clerk in San Antonio, Texas no later than ten (10) days prior to

  the    first     hearing     on       confirmation;   provided,        however,    all

  Administrative Claims of the Case filed by professionals for

  compensation incurred prior to Confirmation under §330 shall be

  filed within ninety (90) days after the Confirmation Date.                          If


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  these Claims are not filed on or before the respective deadlines,

  such Claims shall not be allowed, unless the Court has ordered

  otherwise or orders otherwise.

        In   addition,   all   requests      for   payment   of     Administrative

  Claims incurred after the confirmation of the Plan shall be filed

  with the United States Bankruptcy Clerk in San Antonio, Texas

  prior to or simultaneously with the Debtor’s application for Final

  Decree.

        2.05.        Modifications    to   the     Plan:     This    Plan   may   be

  modified or corrected upon motion of the Debtor pursuant to §1127

  and Bankruptcy Rule 3019 prior to Confirmation.              Modifications or

  corrections may be made without additional disclosure pursuant to

  §1125 provided that the Court finds that the modifications or

  corrections do not adversely affect any Claim or Interest or

  classes of Claims or Interests.          After the Confirmation Date, the

  Debtor, upon order of the Court and in accordance with §1127(b),

  may remedy any defect or omission or reconcile any inconsistencies

  in the Plan in such a manner as may be necessary to carry out the

  purposes and intent of the Plan.

        2.06.        Valuation of Secured Claims:            All Secured Claims

  shall be allowed in an amount as agreed to by the Debtor and the

  Creditor holding the Secured Claim, as provided by this Plan,

  unless the claim is disputed, or as ordered by the Court pursuant

  to §506.      The Court shall not be required to determine the amount


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  of a Secured Claim unless a motion to require such determination

  is filed at least ten (10) days prior to the first hearing on

  confirmation by the Debtor or other party in interest.                In the

  event that such a Motion is not filed, the value of the property

  as set forth in this Plan shall be deemed as the court's finding

  as to valuation and the judgment and tax lien holders shall be

  deemed Unsecured Creditors.

                                  ARTICLE III

                    Division of Creditors in the Classes

         3.01.       Class 1:   Secured claim of the following:

  Secured claim of the following:
  Shirazi, LLC.                                                 $3,100,000.00


                                                        Total: $3,100,000.00

         3.02 Class 2:    Secured Claim of the following:

  Guadalupe County Tax Assessor/Collector                           $68,838.50
  P.O. Box 2903
  San Antonio, TX 78299-2903
                                                            TOTAL: $68,838.50

         3.03 Class 3: Debtor, ALAMO CITY MOTORPLEX, LLC B.

  Provision for Treatment of Classes of Creditors

         The actual and necessary costs and expenses of administration

  of, and claims against, Debtor entitled to priority in accordance

  with   §503(b)    and   §507(a)(1)   of    the   Bankruptcy   Code   are   not

  impaired.      The holder of any Allowed Administrative Claim, except

  as otherwise provided in the Plan, shall be paid in full, without

  interest, in cash, on the effective date of the Plan, from estate
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  funds or upon such other terms as may be agreed upon between the

  holder of any such claim and the Debtor.                          Such payment will

  include payment of all expenses incurred by the Debtor in the

  operation of the estates since the date of filing of this cases,

  together       with    authorized      and     allowed     fees    and    expenses    of

  professionals          employed   by     the      Debtor    including       attorneys,

  accountants and appraisers.              Debtor estimates that there will be

  no administrative claims except as otherwise provided for in Class

  1.

                                      ARTICLE IV

         4.01.          Provision for Dealing with Administrative Expense

  Claims

         The actual and necessary costs and expenses of administration

  of, and Claims against, Debtor entitled to priority in accordance

  with    §503(b)       and   §507(a)(1)       of   the   Bankruptcy       Code   are   not

  impaired the holder of any Allowed Administrative Claim, except as

  otherwise provided in the Plan, shall be paid in full, without

  interest in cash, on the Effective Date of the Plan, from estate

  funds or upon such other terms as may be agreed upon between the

  holder of any such Claim and the Debtor.                          Such payment will

  include payment of all expenses incurred by the Debtor in the

  operation of the estates since the date of filing of this case,

  together       with    authorized      and     allowed     fees    and    expenses    of

  professionals          employed   by     the      Debtor    including       attorneys,



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  accountants and appraisers.              Debtor estimates that there will be

  no Administrative Claims except as otherwise provided for in Class

  1.

                                         ARTICLE V

         5.01.    Provision for Treatment of Classes of Creditors

         The actual and necessary costs and expenses of administration

  of, and claims against, Debtor entitled to priority in accordance

  with    §503(b)       and   §507(a)(1)       of   the   Bankruptcy       Code   are   not

  impaired.       The holder of any Allowed Administrative Claim, except

  as otherwise provided in the Plan, shall be paid in full, without

  interest, in cash, on the effective date of the Plan, from estate

  funds or upon such other terms as may be agreed upon between the

  holder of any such claim and the Debtor.                          Such payment will

  include payment of all expenses incurred by the Debtor in the

  operation of the estates since the date of filing of this cases,

  together       with    authorized      and     allowed     fees    and    expenses    of

  professionals         employed    by     the      Debtor    including       attorneys,

  accountants and appraisers.              Debtor estimates that there will be

  no administrative claims except as otherwise provided for in Class

  1.

         Class 1:       The Class 1 Creditors, to the extent that their

  claims are allowed, shall be paid as follows: The total amount

  owed to the Class 1 Creditor shall be paid in full at closing

  regarding the sale of this real estate.



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        Class 2:     The Class 2 Creditors, to the extent that their

  claims are allowed, shall be paid as follows: Shall be paid 100%

  of their claim at closing on the sale of this real estate.

                                   ARTICLE VI

                      Means for Execution of the Plan

        6.01.   Distributions Under the Plan: The Debtor, in its sole

  discretion, will make those transfers and distributions required

  by this Plan from the revested Debtor’s operations and upon the

  latter to occur of (I) the Confirmation Date, or (ii) as soon as

  practicable after a Final Order is entered allowing the holder’s

  Claim or Interest, or (iii) as otherwise provided by order of the

  Court.    No distribution or transfer shall be made, however, which

  would result in any Creditor receiving more than is specifically

  provided for in this Plan.

        6.01.01    Manner of Cash Payments:        Cash Payments to be made

  pursuant to the Plan shall be made by check drawn on a domestic

  bank from a domestic bank.

        6.02.   Cramdown:     The Court may confirm the Plan even though

  fewer than all Classes of Creditors or Class of Interest holders

  have accepted the Plan.        In the event that any impaired Class of

  Creditors or Class of Interest holders fails to accept the Plan by

  adequate vote as described in §§ 1126 and 1129(a), the Debtor may

  request the Court to confirm the Plan in accordance with §1129(b)

  of the Code.     Furthermore, to the extent the Plan does not embody



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  certain provisions setting forth the circumstances apprehended by

  §1129(b), the Debtor may amend or modify the Plan to include such

  provisions should it become necessary to confirm the Plan under

  cramdown.

           6.03.    Unclaimed Distributions:         In the event that the

  Debtor, is unable to locate a holder of a Claim or Interest in

  order to make such distribution as herein provided, the revested

  Debtor shall hold such distribution for the benefit of such Claim

  or interest holder until all payments and transfers are made

  pursuant to this Plan, then such distributions or property shall

  be paid pro rata to Class 4 Creditors.

          6.04.     Documentation:     The appropriate documentation for

  each transaction contemplated herein shall be in accordance with

  Article IV herein.

          6.05.     Funding of Plan:         The distributions and payments

  provided for in the Plan shall be funded by the revested Debtor’s

  future business operations and sale of assets, if necessary.

        6.06.     Controversy Concerning Impairment:        In the event of a

  controversy as to whether any Creditor(s) or interest holders or

  Classes of Creditors are impaired under the Plan, the Bankruptcy

  Court shall, after notice and hearing, determine such controversy.

  To the extent that the Court finds that a Class of Creditors or a

  Creditor is impaired where designated as unimpaired, that Creditor

  or Class of Creditors may file a vote, notwithstanding other



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  provisions, at the time of Confirmation.              If determined to be

  unimpaired, the Creditor or Class of Creditors shall be deemed to

  accept the Plan as provided in §1126(f).

                                  ARTICLE VII

                  Executory Contracts and unexpired Leases

          7.01.    The Debtors has no leases or executory contracts,

  except as previously disclosed in the plan.

        7.02.     Rejection Claims must be filed with the United States

  Bankruptcy Clerk in San Antonio, Texas within one hundred eighty

  (180) days after Confirmation.         Any objections to such Rejection

  Claims shall be filed as provided in Article VIII.

         7.03.     Each executory contract or unexpired lease assumed

  hereby by the Debtor shall be assumed as of the Confirmation Date.

                                  ARTICLE VIII

           Effect of Confirmation, Release and Binding Effect

        8.01.     Confirmation of the Plan shall operate as a discharge

  of the Debtor from all Claims and Interests to the extent provided

  under §1141(d)(2).

         8.01.01    The treatment of Claims and Interests in the Plan

  shall be deemed in exchange for and shall constitute the complete

  satisfaction and release of all Claims and Interests of any nature

  whatsoever against the Debtor or any of its assets or properties,

  except where otherwise specifically provided herein.




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          8.01.02      Except as specifically provided herein, the Plan

  shall discharge and satisfy all obligations of or claims against

  the   Debtor    or   revested   Debtor      to   the   extent   provided   under

  §1141(d)(2), and no Creditor, interest holder or lessor shall have

  any claim against Debtor upon confirmation with respect to any

  KNOWN liability or obligation of the Debtor or                     the Estate,

  including, but not limited to:

          a)   curing or providing for compliance with regard to any

  violations by the Debtor of or conflicts with any regulations or

  licensing requirement, or of any judgment, decree, order, statute,

  rule or regulation of any court or any public, governmental or

  regulatory agency or body having jurisdiction over the Debtor;

          b)     any unfair labor practices or discrimination claims,

  complaints or charges filed or threatened against the Debtor;

          c)   any and all taxes, whether income, excise, corporate,

  franchise,      property,    sales,      use,     payroll,      withholding   or

  otherwise, incurred by or assessed against Debtor prior to the

  Confirmation Date; and

          d)   any and all liability, claims or responsibility in any

  legal    action,      administrative     proceedings       or    investigations

  instituted by or against the Debtor, or the assets thereof, under

  any law or regulation pertaining to the health or environment

  including, without limitation, the CERCLA Act of 1980 (42 U.S.C.

  §9601 et seq.), as amended from time to time, the regulations



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  promulgated thereunder, and statutes or regulations,                    whether

  federal, state or local relating to the health or environment.

            8.02.     Except as otherwise provided herein, upon the

  Confirmation Date, all such Claims and Interests against the

  Debtor shall be satisfied and released in full; and all such

  holders shall be precluded from asserting against the Debtor, its

  successors or assigns and its assets or properties, any other or

  further    Claim    based   upon   any    act,   debt,   claim   or   omission,

  transaction or other activity of any kind or nature that occurred

  prior to the Confirmation Date.

        8.03.     Upon a Final Order of Confirmation, the provisions of

  the Plan will bind the Debtor, revested Debtor and all Creditors

  and interest holders, whether or not they accept the Plan.

          8.04.     This Plan is binding in accordance with §1141. The

  automatic stay provided by §362 will terminate on the Effective

  Date.

                                     ARTICLE IX

          Procedures for Resolving Disputed Claims and Interests

                         and Disputed Claims Reserve

          9.01.    Debtor or any other party in interest, may object to

  any claim.        All objections to Claims must be filed within one

  hundred and eighty days (180) days after the Effective Date.

        9.02.     The objecting party shall litigate to judgment, settle

  or withdraw objections to disputed Claims and disputed Interests.



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  All legal fees and expenses of the Debtor incurred                         in the

  prosecution of objections to Claims or Interests shall be paid as

  a Class 4 claim.

         9.03.    In determining the amount of the distribution due the

  holders of Allowed Claims prior to the resolution of all claim

  disputes, the appropriate Pro Rata calculations pursuant to the

  Plan shall be made as if all disputed Claims were Allowed Claims

  in    the    full    amount   claimed   by    the   holders   thereof;   provided

  however, that the Court may estimate a lesser amount for a Claim

  holder used in such a Pro Rata calculation or the Trustee and the

  disputed claim holder may agree upon distribution in an amount

  less than that claimed.

               9.04.     PORIA MIANABI, hall hold in an interest-bearing

  account, and separately account for, distributions in respect to

  disputed Claims.

         9.05.        At such time as a disputed Claim becomes an Allowed

  Claim, the distributions reserved for such Allowed Claim shall be

  released from the Disputed Claims reserve and delivered to the

  holder of such Allowed Claim.           In the event that, or to the extent

  that, a disputed Claim is disallowed, the distributions reserved

  for such claim shall be released from the Disputed Claims reserve

  for    Pro    Rata    distribution      to   Allowed   Claims   upon     the   next

  Distribution Date.




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        9.06.     Except as the Court may order otherwise, no payments

  or distribution shall be made with respect to all or any portion

  of a disputed Claim unless and until all objections to that Claim

  have been determined by Final Order.                  Payments and distributions

  to   each   holder    of    a   disputed      claim    to   the   extent   that   it

  ultimately becomes an Allowed Claim shall be made in accordance

  with the provisions of the Plan with respect to the Class of

  Claims in which the respective holder is a member.

                                     ARTICLE X

                             Retention of Jurisdiction

        The Court shall retain jurisdiction of this case pursuant to

  the provisions of Chapter 11 of the Bankruptcy Code, until final

  allowance      or   disallowance    of   all    claims,      or   to   resolve    all

  controversies affected by this Plan in respect to the following

  matters:

           10.01.       To determine all controversies relating to or

  concerning the classification, allowance or satisfaction of Claims

  or Administrative Expenses;

        10.02.    To determine any and all pending applications for the

  rejection or assumption and/or assignment, as the case may be, of

  executory contracts and unexpired leases to which the Debtor or

  Revested Debtor are a party or with respect to which the Debtor

  may be liable, and to determine and, if necessary, to liquidate,

  any and all Claims arising therefrom;



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           10.03.     To determine any and all applications, adversary

  proceedings, and contested or litigated matters properly before

  the Court, including, without limitation, any proceeding commenced

  for the purpose of avoiding, recovering or preserving for the

  benefit    of     the   estate    any    transfer   of    property,    obligation

  incurred by the Debtor, lien or setoff;

        10.04.      To determine any dispute arising under this Plan and

  to make such orders as are necessary or appropriate to carry out

  the provisions of the Plan including to approve or determine

  controversies concerning closing documentation;

        10.05.      To grant extensions of any deadlines set herein;

        10.06.      To hear and determine all requests for compensation

  and/or    reimbursement      of    expenses       which   may   be    made   after

  Confirmation;

        10.07.      To enforce all release provisions under this Plan;

        10.08.      To modify the Plan pursuant to Paragraph 2.05 and the

  Code; and

        10.09.      In addition, and at any time, the Court may make such

  orders or give such direction as may be appropriate under §1142.

                                     ARTICLE XI

                                          Notices

        All notices or demands required or permitted herein shall be

  deemed to have been duly given and served when made in writing and

  deposited in the United States mail, first class, in an envelope



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  addressed to the last known address of the notified party, with

  postage prepaid.

                                  ARTICLE XII

                              Discharge of Debtor

        Pursuant to 11 U.S.C. §1141(d)(2) and the rights granted

  herein, the entry of a final order by the Court confirming this

  Plan shall operate as a full and complete discharge of the Debtor

  on all classes of claims.                   The consideration received by

  the Debtor’s creditors, as provided in the Plan, will be in full

  final satisfaction, release, discharge and cancellation of any and

  all claims of such creditors against the debtor, pre-confirmation

  and the release of all liens upon its successful completion of all

  payments    and   plan    provisions.       The   claims    of   the   taxing

  authorities shall be paid, not discharged.

                                  ARTICLE XIII

                                  Final Decree

        The Debtor shall file an application for Final Decree no

  later than six (6) months following confirmation of the Plan.

                                  ARTICLE XIV

                    Payment to the United States Trustee

        In accordance with §1129(a)(12) of the Bankruptcy Code and 28

  U.S.C. §1930, the Debtor shall on the Confirmation Date pay all

  fees then due to the United States Trustee.




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                                     ARTICLE XV

   Post-Petition Reports and Payments to the United States Trustee

        On the Confirmation Date, the Debtor shall be relieved of any

  further obligation to file quarterly operating reports with the

  Bankruptcy Court.      However, the Debtor and the Reorganized Debtor

  shall make all post-confirmation payments to the United States

  Trustee as may be required pursuant to 28 U.S.C. §1930(a)(6), and

  shall provide to the United States Trustee such financial reports

  as the United States Trustee may reasonably request, until the

  Chapter   11   case   has   been    closed   by   the   Bankruptcy     Court   or

  converted to another chapter under the Bankruptcy Code.

                                     ARTICLE XVI

                     Vesting of Property of the Estate

        Post-confirmation,      all     property    of    the   Estate   will    be

  conditionally vested in the Debtor, as a “reorganized Debtor.”                 In

  the event of a post-confirmation conversion of the Chapter 11 Case

  to a case under Chapter 7 of Title 11 of the Bankruptcy Code, all

  remaining conditionally vested property of the Estate shall come

  into and become a part of the Chapter 7 Estate.




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        RESPECTFULLY SUBMITTED this 28TH day of OCTOBER, 2021.




  BY: /s/Poria Mianabi
  PORIA MIANABI, Managing Member
   of the DEBTOR-IN-POSSESSION




  APPROVED AS TO FORM:
  JAMES S. WILKINS, P.C.
  1100 NW Loop 410, Suite 700
  San Antonio, TX 78213
  (210) 271-9212 (Telephone)
  (210) 271-9389 (Facsimile)
  TBC NO. 21486500



  /s/James S. Wilkins
  BY: JAMES S. WILKINS
       Attorney for Debtor




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                            CERTIFICATE OF SERVICE

           I hereby certify that a true and correct copy of the

  foregoing Plan of Reorganization has been sent to the following by

  first class U.S. mail, on this 28th day of OCTOBER, 2020:

        United States Trustee
        615 E. Houston Street, Suite 533
        San Antonio, TX 78205


                                             /s/James S. Wilkins
                                              JAMES S. WILKINS
                                              Attorney for Debtor




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